                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                        AT WINCHESTER

LARRY SHANE REDMON,                         )
                                            )
                   Plaintiff,               )
                                            )    Case No. 4:18-cv-38
v.                                          )
                                            )    Judge Christopher H. Steger
YOROZU AUTOMOTIVE                           )
TENNESSEE, INC.,                            )
                                            )
                   Defendant.               )

                                         JUDGMENT

        For the reason stated in the accompanying Memorandum Opinion, it is ORDERED that

Defendant Yorozu Automotive, Tennessee, Inc.'s Motion to Dismiss [Doc. 11] is GRANTED.

Judgment is hereby entered in favor of Defendant Yorozu Automotive, Tennessee, Inc. on all

claims. This matter is DISMISSED WITH PREJUDICE, and the Clerk of Court is directed to

close this case.

        IT IS SO ORDERED.
                                            /s/ Christopher H. Steger
                                            UNITED STATES MAGISTRATE JUDGE

ENTERED AS A JUDGMENT

/s/ John Medearis
CLERK OF COURT




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